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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE


 NEW HAMPSHIRE INDONESIAN
 COMMUNITY SUPPORT, et al.,
                                                   Case No.: 1:25-cv-38-JL-TSM
      Plaintiffs,

      v.

 DONALD J. TRUMP, President of the
 United
 States, in his official capacity, et al.,

      Defendants.


     ASSENTED-TO MOTION FOR LEAVE TO FILE BRIEF OF AMICI CURIAE
        LOCAL GOVERNMENTS AND LOCAL GOVERNMENT OFFICIALS
   IN SUPPORT OF PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

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       Proposed Amici Curiae Local Governments and Local Government Officials move for

leave to file an amicus brief in support of Plaintiffs’ motion for preliminary injunction. In

furtherance of the motion, Proposed Amici state as follows:

       1.      Proposed amici are local governments and local government officials representing

72 jurisdictions across 24 states.

       2.      They support Plaintiffs’ motion for a preliminary injunction because they, too, will

be harmed by the Executive Order that is the subject of Plaintiffs’ lawsuit.

       3.      This Court “ha[s] discretion to grant amicus curiae status in the exercise of the

courts’ inherent authority.” League of Women Voters of New Hampshire v. Kramer, No. 24-CV-

73-SM-TSM, 2024 WL 4604323, at *1 (D.N.H. Oct. 29, 2024) (granting leave to file

memorandum of amicus curiae).

       4.      The proposed brief will assist the Court in its consideration of the pending motion,

because local governments face immediate harms from the Order that overlap yet are distinct from

the harms individuals, organizations, and states must confront.

       5.      Among other things, local governments must manage the administrative confusion

that the Order will create. Because many local governments issue birth certificates, they will need

to develop new systems to ascertain the citizenship of children born in their local hospitals and

within city or county lines.

       6.      The Order also forces Proposed Amici to develop new protocols for any programs

requiring citizenship verification, because traditional birth certificates will no longer suffice as

proof of citizenship. Local communities will also contend with the personal impact to their

community members, such as restrictions on federally funded health care coverage, child services,

and educational benefits.




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       7.      Counsel for proposed amici have conferred with counsel for the parties. Plaintiffs

and Defendants both assent to the request for leave to file.

       8.      A true and correct copy of the proposed brief has been submitted with this motion.



                                          CONCLUSION

       For the foregoing reasons, Proposed Local Government Amici respectfully request the

Court grant the motion for leave to file the attached brief.



                                               Respectfully submitted,

                                               /s/ Henry C. Quillen
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Dated: January 28, 2025




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                               CERTIFICATION OF SERVICE

        I hereby certify that a copy of the foregoing was this day served on all counsel via the
court’s electronic service system.

                                              /s/ Henry C. Quillen
                                              Henry C. Quillen
                                              New Hampshire Bar No. 265420
                                              WHATLEY KALLAS, LLP

Dated: January 28, 2025




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